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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT
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 SHORELINE POOLS, INC.,

                                                                          Case No.: 3:24-cv-01762 (OAW)
                                    Plaintiff,

                  v.

 LEGACY RENOVATIONS & POOL SERVICE, INC.,


                                    Defendant.
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                  DECLARATION OF DAVID LIONETTI IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

David Lionetti, declares the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

        1.       I am the President of Shoreline Pools Inc., (“Shoreline”), the Plaintiff in the above

captioned matter.

        2.       I make this declaration, pursuant to Rule 7(b) of the Local Civil Rules of the United

States District Court for the District of Connecticut, in support of Plaintiff’s motion for a

preliminary injunction. This motion seeks to enjoin Legacy Renovations & Pool Service, Inc.

("Legacy" or "Defendant") from continuing to misrepresent itself as Shoreline and/or as being

affiliated with Shoreline, to compel the removal of all false and misleading content from its website

and social media, to prohibit Legacy from engaging in deceptive communications with Shoreline’s

clients and/or suppliers, and to prevent the use, disclosure, or misappropriation of Shoreline’s trade

secrets, confidential business information, or proprietary data for the purpose of soliciting

Shoreline’s clients and/or leveraging Shoreline’s supplier relationships.

        3.       Shoreline was founded by my father, L.F. (“Lou”) Lionetti, in 1969 as a family-

owned swimming pool construction and service company in Connecticut. Over time, it has grown
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into a recognized leader in the pool construction, renovation, maintenance and service industry

across the Northeast and especially in the New York Tri-state area.

       4.      I first joined Shoreline in or about May of 1970 and currently serve as President of

the Company. I am also a member of Shoreline’s Board of Directors. I currently oversee

Shoreline's construction, renovation, service and maintenance divisions and own a majority (60%)

of the issued and outstanding stock of the company.

       5.      From approximately 2005 to 2023, I held an equal percentage of ownership

(approximately 30%) in Shoreline along with my two brothers, Mark Lionetti and Brian Lionetti.

       6.      On or about June 20, 2023, I acquired Brian Lionetti’s interest in Shoreline,

bringing my ownership interest to approximately 60%.

       7.      Mark Lionetti was employed by Shoreline until his termination on or about

September 30, 2023. Mark Lionetti continues to own 30% of the issued and outstanding stock of

Shoreline. A copy of Mark Lionetti’s termination letter is annexed as Exhibit “A”.

       8.      My brother Mark Lionetti’s son, David A. Lionetti, is also a former employee at

Shoreline, having been employed by Shoreline since 2005 until he resigned from Shoreline

on April 15, 2024.

       9.      I have since learned that, in or about the beginning of the fourth quarter of 2023,

but probably much earlier, while David A. Lionetti was still employed by Shoreline and Mark

Lionetti was still a substantial shareholder of the Company, they were planning to establish a

competing pool service business.

       10.     I learned of their plans to compete against Shoreline through a review of emails

sent from David A. Lionetti’s Shoreline email account to his personal email account, which

included a drafted a mission statement for “L&P Renovations,” which they eventually incorporated
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as Legacy. Attached hereto as Exhibit “B” is a true and correct copy of the email containing

Legacy’s draft mission statement.

       11.     Legacy was incorporated by Mark Lionetti under Florida law on March 22, 2024,

with his son David A. Lionetti listed as a Vice President of the Company while David A. Lionetti

was still employed by Shoreline. Attached hereto as Exhibit “C” is a true and correct copy of

Legacy’s Certificate of Incorporation.

       12.     Legacy was registered to do business in Connecticut on or about April 10, 2024.

Attached hereto as Exhibit “D” is a true and correct copy of Legacy’s registration to do business

in Connecticut.

       13.     David A. Lionetti resigned from Shoreline on April 15, 2024, five days after

registering Legacy to do business in the State of Connecticut. A copy of his letter of resignation is

attached hereto as Exhibit “E”.

       14.     As owners of Shoreline, both Mark Lionetti and I were aware of our fiduciary duties

to neither disclose nor use Shoreline’s confidentiality proprietary information and/or trade secrets

for our own personal benefit at the expense of Shoreline.

       15.     The list of the names of Shoreline’s some 3,000+ current and former service clients,

contact information, pool/spa specifications and pricing offered to Shoreline’s customers was

developed through years of effort and hard work and are essential trade secrets. Access to this

information at Shoreline is and has always been strictly limited and protected.

       16.     Furthermore, the identity, contact information, needs and pricing offered to

Shoreline’s customers is not discoverable through public sources but rather is a by-product of years

of industry trade practice and Shoreline’s proprietary efforts to gather, sort, organize and analyze

its customer’s data.
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       17.     Shoreline has also developed a network of suppliers and vendors, whose identities

are not all commonly known in the marketplace. Through years of effort Shoreline has created

vendor relationships and has developed relationships affording unique and confidential pricing.

The identity of and information relating to Shoreline’s suppliers/vendors and preferential pricing

offers by way of volume discounts and flexible payment terms are essential trade secrets, upon

which Shoreline’s competitive advantage is, in part, based and access to this information at

Shoreline is and has always been strictly limited and protected.

       18.     Given the value conferred to Shoreline by the trade secrets described above,

Shoreline developed and oversaw a robust software system to protect our confidential business

information and trade secrets.

       19.     The efforts to protect this confidential information included, but were not limited

to, requiring usernames and passwords to access the company’s databases and limiting access to

that information to only a limited number of employees each having specific usernames and

passwords.

       20.     If any competitor were to obtain Shoreline’s customer lists, supplier information,

or pricing details, they would derive significant economic value from that information.

       21.     Shoreline has a formal written Confidentiality Policy contained within the

company’s Employee Handbook, the relevant excerpt of which is attached hereto as Exhibit “F”.

       22.     Shoreline’s Confidentiality Policy states, in relevant part, as follows:
       While employed by Shoreline, employees may be exposed to confidential and
       proprietary information regarding Shoreline. This information may include but is
       not limited to personal information regarding employees or customers of Shoreline
       and operational and financial information about Shoreline. During their
       employment with Shoreline and indefinitely thereafter, employees are required to
       hold and keep secret Shoreline’s confidential and proprietary information
       (including Shoreline databases) and not disclose or use Shoreline’s confidential and
       proprietary information, other than as required by applicable law or for the proper
       performance of duties and responsibilities to Shoreline.
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       23.     Mark Lionetti, a former Officer and shareholder of Shoreline, and his son David A.

Lionetti each had access to Shoreline’s internal systems containing our customer list, supplier list

and confidential pricing information.

       24.     At the time that Shoreline permitted Mark Lionetti and his son David A. Lionetti

access to this confidential information, both Mark Lionetti and his son David A. Lionetti, knew

that their access to this information came with a duty to maintain its secrecy and limit its use.

       25.     While employed by Shoreline, Mark Lionetti and his son David A. Lionetti,

conspired to form Legacy to compete against Shoreline.

       26.     Upon information and belief, Mark Lionetti and his son David A. Lionetti

misappropriated and stole Shoreline’s private and confidential business information for the

purpose of pursuing Shoreline service customers and to leverage Shoreline’s vendor relationships

to obtain preferential pricing and terms.

       27.     Since Legacy’s incorporation on April 10, 2024, Legacy, through Mark Lionetti

and his son David A. Lionetti, have actively solicited, signed, and acquired Shoreline’s service

clients, interfering with existing contracts and diverting Shoreline customers away from Shoreline

to Legacy, and in doing so, caused significant harm to Shoreline’s business relationships and

reputation.

       28.     Upon information and belief, Legacy has diverted at least twelve (12) Shoreline

service accounts since April 10, 2024 representing more than $100,000 of lost recurring annual

revenue. Attached hereto as Exhibit “G” is a schedule listing based on my current knowledge,

former Shoreline clients who are believed to have been improperly acquired by Legacy. The only

way that Legacy could have known of the existence of these accounts was through Mark Lionetti

and David A. Lionetti’s employment with Shoreline. In many cases, Shoreline had signed
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agreements with deposits and were forced to return money back to our clients in order to preserve

our reputation in the community. In certain cases, deposits and other prepayments were returned

to such customers, not by right but as a means to preserve Shoreline’s reputation and good name

in the communities it serves.

       29.     Shoreline has reason to believe, upon good authority, that Legacy is imminently

planning to send out a targeted mass mailing campaign aimed at Shoreline using Shoreline’s

confidential information to further solicit and targeting all or a portion of Shoreline’s service

customers.

       30.     In addition to using Shoreline’s Confidential and Proprietary Information, Legacy

has been using deceptive practices in its solicitation of customers to induce them to enter into

contracts with Legacy.

       31.     In that regard Legacy has misappropriated Shoreline’s corporate history, its story,

and its experience as a respected pool company. Specifically, Shoreline’s website truthfully and

accurately states:

       “Shoreline Pools was founded in 1969 as a small, family-owned swimming pool
       construction company in Connecticut. Our founder, Lou Lionetti, had a vision, that
       swimming pools should be an extension of one’s home, a reflection of style, and a personal
       oasis. Lou believed that this vision hinged on delivering superior service and craftsmanship
       to every Shoreline Pools customer, and he settled for nothing but the very best.

       Today, Shoreline Pools stands by the very same values on which we were founded: service,
       craftsmanship, and tradition. There are no catalogs or templated array of pre-designed
       pools. Every swimming pool we build is custom designed for each client and constructed
       with the finest materials and craftsmanship to meet our exacting standards. Led by Lou’s
       son, David Lionetti, our team is comprised of the most experienced and well-trained
       tradesmen in the industry. Over the past five decades, Shoreline Pools has built and serviced
       over 4,000 pools along the Northeast coast and within the New York Tri-state area – more
       than any swimming pool contractor or company in the region. Our award winning designs
       reach from Greenwich to Rhinebeck and as far as Martha’s Vineyard, Nantucket, and the
       Bahamas.”
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       32.     I discovered false and deceptive claims made on Legacy’s website whereby they

stated that they "boast over 50 years in the industry and span three generations," and that "Mark

and young Dave [have completed] over 3,000 pool projects." These statements are entirely baseless

and false.

       33.     Shoreline, founded in 1969, is the company that spans three generations and has

completed over 3,000 pools. Legacy, on the other hand, was incorporated on March 22, 2024,

spans only two generations, and has not constructed a single pool nor completed anywhere near

3,000 pool projects. Legacy’s intent in publishing these statements was to mislead the public as

to Legacy’s history and to falsely represent itself as Shoreline or being affiliated with Shoreline.

       34.     Additionally, as a pool repair, servicing, and restoration contractor, Legacy must

ensure the proper licensing of its employees, which includes, in most instances, the contractor

employing an individual with an SP-1 or SP-2 license.

       35.     Neither Mark Lionetti nor David A. Lionetti hold the necessary license to perform

the pool repair and restoration services offered by Legacy as Mark Lionetti’s SP1 license expired

on October 31, 2023 and is shown on the State of Connecticut's licensing database website to be

“Inactive.” Attached hereto as Exhibit “H” is a true and correct copy of Mark Lionetti’s licensing

status as reflected by State of Connecticut's licensing database website.

       36.     It is my understanding that a failure to be properly licensed under Connecticut State

Law constitutes in and of itself an unfair or deceptive trade practice.

       37.     Through Legacy’s deceptive advertising and unfair trade practices Legacy has

caused substantial injury to consumers by trading on Shoreline’s reputation and creating the false

impression that Legacy’s history and reputation is the same as Shoreline’s, when, in fact, it is not.
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       38.     Legacy’s continued use of Shoreline’s history, reputation and trade secrets will

enable them to further mislead Shoreline clients and confuse consumers, exacerbating the damage

to Plaintiff’s business and reputation.

       39.     Each day that Legacy is not enjoined from misappropriating Shoreline’s identity

and trade secrets, Shoreline stands to lose significant business opportunities and trust in the

marketplace, which has taken Shoreline more than five decades to build.

       40.     Given Shoreline’s unique, and “full service” platform as it relates to the pool

construction, service/maintenance, and renovation industry, each Shoreline client may require

different services over the course of its engagement period with Shoreline. The way Shoreline is

able to tailor and deliver services to customers is to uniquely customize its offerings to meet the

specific needs of each individual client, with revenue opportunities often arising from customers

who have long standing continuous relationships with Shoreline. As such, any given client could

result in a significant unforeseen future revenue opportunity for Shoreline.

       41.     Since Legacy’s incorporation and Mark Lionetti’s and David A. Lionetti’s

departure from Shoreline, Shoreline is aware of at least one instance where David A. Lionetti

falsely held himself out as owning and still being affiliated with Shoreline to a Shoreline supplier.

       42.     On May 28, 2024, David A. Lionetti reached out to a longtime Shoreline supplier

of construction materials, CPTnS, and affirmatively misstated the following: “I am the owner of

Shoreline pools out of Stamford CT which we [sic] order many products. We have branched off

to a new name called legacy [sic].” Attached hereto as Exhibit “I” is a true and correct copy of

email correspondence between David A. Lionetti and CPTnS.
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